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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

             CASE NO.: 19-80030-CR-DIMITROULEAS/MATTHEWMAN

  UNITED STATES OF AMERICA,

                Plaintiff,

  v.

  AARON SINGERMAN,

              Defendant.
  _____________________________/

                DEFENDANT AARON SINGERMAN’S RESPONSE
               TO GOVERNMENT’S SENTENCING MEMORANDUM

         In an attempt to convince this Court to impose a sentence far in excess of any
  prior prosecution for anabolic steroids peddled as dietary supplements, the
  government cites three cases in its sentencing memorandum: United States v. Kestel,
  United States v. Root, and United States v. Lambert. (Doc. 652-Pg. 8.) None of those
  cases is comparable to Mr. Singerman’s. The government entirely fails to highlight
  significant and aggravating differences between those three cases and this one. The
  idea that defendants like Mr. Singerman “are regularly incarcerated for lengthy
  terms” (Doc. 652-Pg. 8) is simply false.
         All three of the government’s cases involve entirely black-market sales of
  blatantly illegal steroids. These were not – as is the case here – companies or
  individuals operating in the open market, listing their ingredients on labels sold
  openly to consumers, and attempting to evade FDA enforcement through aggressive
  interpretation of an evolving regulatory landscape. The government’s cases involve
  underground laboratories selling unquestionably illegal products, without any
  attempt at legal pretense, using all the hallmarks of the illegal drug trade to hide
  their activities.
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          In United States v. Kestel, the defendant used aliases, a private Facebook
  group, password-protected websites, encrypted messaging applications, fraudulent
  bank accounts, and digital payment applications such as Coinbase to sell homemade
  anabolic steroids and a wide variety of prescription drugs out of his basement
  laboratory. See United States v. Kestel, No. 1:19-CR-244 (E.D. Va.), Doc. 41 (Gov’t
  Sentencing Memorandum.)                He disguised the sale of those drugs by telling his
  customers to conduct financial transactions with innocuous descriptions such as “the
  purchase of aquatic supplies.” He stole and used personally identifiable information
  of acquaintances and opened bank accounts in their names as part of an elaborate
  money laundering scheme. Kestel – a prior convicted felon – even traded his steroids
  for an AR-15 assault-style rifle and created false sales documents that disguised his
  illegal acquisition of it. Kestel’s guideline range was 87 to 108 months’ imprisonment,
  even with acceptance of responsibility (id. at 5). The Court varied downward – at the
  government’s suggestion, even under all those aggravating circumstances – to a
  below-Guidelines sentence of 70 months.
          In United States v. Root, the defendant was the leader of the country’s largest
  underground lab manufacturing and distributing injectable steroids, busted by the
  Drug Enforcement Agency in Operation Cyber Juice.                              That operation was a
  nationwide takedown in 2015 of the underground trade of anabolic steroids, and
  particularly injectable steroids, that had been banned since 1990.1 Root pressured
  and coerced his co-conspirators to use their friends and family members to wire
  money to China for raw components for the steroids distributed illegally by the group,
  exposing each of those innocent bystanders to decades in prison for money
  laundering. See United States v. Root, No. 3:15-CR-261 (N.D.N.Y.), Doc. 248 (Gov’t
  Sentencing Memorandum). Critically for the court sentencing Mr. Root, he was a
  recidivist. Mr. Root had “in the past engaged in conduct that was similar to the
  conduct for which you’re convicted and stand before the Court today and that you

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                   See     “DEA     Announces      Major     Steroid    Operation,”    https://www.dea.gov/press-
  releases/2015/09/01/dea-announces-major-steroid-operation; see also “Founder of Operation Cyber Juice’s Biggest
  UGL Has Been Sentenced,” https://www.steroidal.com/steroids-news/founder-operation-cyber-juices-biggest-ugl-
  sentenced/.

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  were punished for but it didn’t do any good. You went right back to doing the same
  thing again which gives the Court great pause as to what the future holds for you.”
  See United States v. Root, No. 3:15-CR-261 (N.D.N.Y.), Doc. 308 (Sentencing
  Transcript), at 17.        Root received 78 months’ imprisonment, the low end of his
  guideline range even with acceptance of responsibility.
          Lambert is perhaps the most egregiously out-of-place comparator case of the
  three cited by the government. Lambert and his wife manufactured and distributed
  pill-form and injectable steroids through various underground internet forums,
  concealing their activities by using false names, encrypted messaging, and
  cryptocurrency accounts. Lambert was arrested and sentenced for selling steroids in
  2019, but instead of surrendering to serve that sentence, he assumed a new identity,
  moved to a different state, and resumed his illegal operations. He illegally possessed
  weapons (as a convicted felon) and – with a co-conspirator – manufactured silencers
  for them.2 After all that, Lambert was sentenced to 108 months’ imprisonment.
          These three cases apparently are the best the government can do to suggest
  that a multi-year sentence of imprisonment for Mr. Singerman is not unwarrantedly
  disparate from the way it and the courts have treated these cases across the country
  for the last decade. All three of the government’s examples involve much different,
  and more serious conduct, than is at issue here: black-market drug dealing, by
  recidivist drug dealers, some armed with illegal weapons or involving the trade of
  such weapons, hiding their blatantly illegal operations through encryption and
  sophisticated money laundering, and coercing and pressuring innocents into criminal
  activity.
          Though the government seeks flatly to deny it (Doc. 652-Pg. 8), there is actually
  a set of cases that involve similar conduct as here: the more than a dozen cases
  detailed in Mr. Singerman’s own memorandum. None of those cases justified a
  sentence close to what the government here is requesting against Mr. Singerman, no


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                   See “Ringleader and Members of Multi-State Anabolic Steroid Trafficking Network Sentenced,”
  https://www.dea.gov/press-releases/2021/11/02/ringleader-and-members-multi-state-anabolic-steroid-trafficking-
  network.

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  sentencing purpose is served by such a sentence. For all the reasons argued in Mr.
  Singerman’s memorandum, his circumstances call for a more measured punishment.
        Respectfully submitted, this 26th day of January, 2022.

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                               CERTIFICATE OF SERVICE

         I hereby certify that on January 21, 2022, I electronically filed the foregoing

  document with the Clerk of Court, using the CM/ECF system, which will send a notice

  of electronic filing to all counsel of record.



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